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                       UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                           PITTSBURGH DIVISION


THOMAS B. LEWIS,
v.                                                                 Case No. 2-22-CV-1012
UNITED STATES OF AMERICA.

                            Complaint (Federal Tort Claims Act)

NOW, through undersigned counsel, comes Thomas B. Lewis, United States Veteran, under
the Federal Tort Claims Act, 28 U.S.C. §§ 2671-2680, 28 U.S.C. § 1346(b) (the “FTCA”)
against the United States of America (the “Government”), respectfully avers as follows:

Overview

   1. This suit arises out of a series of related but separate acts and omissions of medical
      negligence and negligence committed by direct employees of the United States
      Department of Veterans' Affairs, with regard to United States Veteran Thomas B. Lewis.
      The said acts and omissions started on May 3, 2019, continued to occur and became more
      severe and more damaging during and between subsequent hospitalizations, treatment
      and care culminating on September 29,2020.


The Parties

   2. Plaintiff Thomas B. Lewis is person of the full age of majority domiciled in Uniontown,
      Pennsylvania.
   3. Defendant Veterans Administration is a Department of the United States of America
      which provides services, including health care, to United States veterans.

Jurisdiction and Venue

   4. Jurisdiction of the Court is invoked pursuant to 29 U.S.C. Sec. 216(b), 28 U.S.C. Sec.
      1331.
   5. Venue is proper within this district pursuant to 28 U.S.C. Sec. 1391 because all parties
      reside within the district.

Legal Background

   6. Plaintiff asserts claims herein for personal injury, pursuant to
      the Federal Tort Claims Act, individually, against the United States of America (the
      “Government”), which acted at relevant times through the U.S. Department of Veterans'
      Affairs (the “VA”). The VA owned and operated medical clinic facilities and related
      facilities in the Pittsburgh area.
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   7. During time periods relevant to this complaint, Defendant’s employees and agents acting
      in the course and scope of their employment and agency, routinely rendered medical care
      to United States veterans. Specifically, they rendered medical care at relevant times to
      Thomas B. Lewis stemming from an injury to his hip that required a total hip
      replacement.
   8. The Government is responsible for acts and omissions of malpractice committed directly
      by VA employees, such as VA physicians, VA nurses, VA caregivers and therapists, and
      VA administrators, as described herein.

Facts Establishing Liability

   9. The Government is liable to the Plaintiff for damages in an amount to be determined by
       the trier of fact for the following reasons, to-wit:
   10. Thomas B. Lewis was a United States Airman who served his country on active duty
       from 1964 through 1968 and was subsequently honorably discharged from service.
   11. Before the events detailed in this Complaint, Thomas B. Lewis was muscular and
       generally healthy.
   12. Prior to May of 2019, Plaintiff began experiencing pain in in his hip and began having
       difficulty walking. Tests and examinations were performed by the VA doctors during this
       period. Plaintiff was diagnosed with failing hips and it was recommended that he undergo
       a total hip replacement.
   13. On May 3, 2019, said surgery took place, at the Veterans Administration Hospital located
       in Pittsburgh, Pennsylvania.
   14. Plaintiff avers that during surgery, the VA physicians and medical staff failed to attach
       Plaintiff’s abductors to the greater trochanter and/or failed to properly attach the same,
       and failed to attach his abductor musculature along the right proximal femur, or failed to
       properly attach the same, thereby preventing the abductors to attach and heal so as to
       allow Plaintiff to have proper movement of his hips and legs.
   15. Plaintiff avers that the foregoing facts illustrate numerous breaches of the
       applicable medical standard of care beginning on May 3, 2019 continuing through the
       present.
   16. The VA and its physicians and medical staff owed a duty to Mr. Lewis to provide him
       medical care satisfying or exceeding the reasonable standard of care applicable to a hip
       replacement.
   17. The VA and its physicians and medical staff breached this duty by improperly attaching
       his hip and leg muscles, in dereliction of the standard of care applicable to a hip
       replacement.
   18. These surgical missteps were the proximate cause of the harm suffered, namely,
       Plaintiff’s continuing pain, loss of mobility in his hip and leg, and general deterioration in
       his health due to his increasing immobility.
   19. The damages Plaintiff has suffered are a direct result of the harm caused by the VA and
       its physicians and medical staff.
   20. To the extent these breaches were committed by persons cognizable under the Federal
       Tort Claims Act, damages are sought herein against the Government pursuant to the
       FTCA.
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   21. Mr. Lewis is uable to enjoy life as he has difficulty ambulating, sitting, standing, and
       performing any and all movements and activities involving his legs and hips.
   22. Plaintiff seeks damages herein for the past pain and suffering, loss of enjoyment of life,
       inability to engage in usual activities, emotional distress, and mental anguish for costs
       of medical care (see next paragraph), and for past and future loss of services and society.
   23. On information and current belief, all medical expenses concerning this matter were
       provided through the VA. Plaintiff reserves the right to recover as damages the cost of
       other past medical expenses should this belief prove inaccurate.
   24. Plaintiff timely filed a written claim for administrative review concerning the instant
       matter, pursuant to the FTCA, on January 12, 2022. (See Exhibit “A”). Receipt thereof
       was acknowledged by the VA. Upon completion of Administrative review, a final denial
       was issued on Plaintiff's administrative claim. (See Exhibit B).

WHEREFORE, Plaintiff prays that the United States of America be cited to appear and answer
this Complaint, and that after all legal delays and due proceedings had, that a Judgment be
rendered in favor of Plaintiff and against the United States of America for damages as
determined by the trier of fact, plus any interest that may be allowed by law and for costs of
these proceedings.




                                                                          Respectfully submitted,

                                                                     _______s/ Sean Logue_____
                                                                           Attorney for Plaintiff
